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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA

In re: VIOXX PRODUCTS LIABILITY                            * MDL No. 1657
LITIGATION                                                 *
                                                           * SECTION L
                                                           *
                                                           * JUDGE ELDON E. FALLON
                                                           *
                                                           * MAGISTRATE JUDGE
                                                           * DANIEL E. KNOWLES, III
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THIS DOCUMENT RELATES TO:                       _Garner, David v. Merck & Co., Inc. et al.
                                                Civil Action No. 2:07-cv-02707

       PLAINTIFF’S MEMORANDUM IN SUPPORT OF MOTION TO REMAND


        COMES NOW Plaintiff, David Garner, by and through his attorneys, and files his

memorandum in support of his Motion to Remand, and states as follows:

        This Court lacks subject matter jurisdiction because: (1) complete diversity does not

exist between all plaintiffs and all defendants; (2) properly joined defendants are residents and

citizens of Illinois. Absent subject matter jurisdiction, “…the district court shall remand.” 28

U.S.C. § 1447(c); Caterpillar v. Lewis, 519 U.S. 61, 68-69, 117 S.Ct. 467, 473 (1996). The

“first step” of considering subject matter jurisdiction is the right of this Court. In fact, the

Seventh Circuit noted that the District Court for the Southern District of Illinois is empowered to

consider its own jurisdiction, stating: “We find nothing absurd in district courts individually

evaluating their own jurisdiction.” Municipal Retirement Fund v. CitiGroup, Inc., 391 F. 3d

844, 851 (7th Cir. 2004).



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        Defendant Walgreen Co., (“Walgreens”) is an Illinois citizen, failed to warn Plaintiff and

his physicians of the dangers associated with Vioxx and also sold defective drugs, without proper

and sufficient warnings. Based upon the representations, misrepresentations, fraud, and related

conduct of the pharmacies, Plaintiff was prescribed and ingested Vioxx, which resulted in injury.

Although undertaking to provide warnings with Vioxx, Walgreens Pharmacy withheld specific

knowledge and did not provide adequate and proper warnings of the associated dangers.

Walgreens Pharmacy is liable for their conduct.

                                         INTRODUCTION

        Plaintiff filed suit in Madison County, Illinois against three separate Merck entities and a

pharmacy (Walgreens Pharmacy). Plaintiff and Walgreens Pharmacy are citizens and residents

of Illinois.

        Merck removed the case to District Court by invoking federal diversity jurisdiction, and

arguing that Plaintiff improperly and fraudulently joined Walgreens Pharmacy. Because those

allegations are false, there is no subject matter jurisdiction.

                                            ARGUMENT

        Federal courts have limited jurisdiction. Kokonnen v. Guardian Life Ins. Co. of Am.,

511 U.S. 375, 377 (1994). The courts must presume that cases lie outside federal jurisdiction.

Consequently, the removal statute should be strictly construed to favor state court jurisdiction.

Id.

A.      The Standard for Fraudulent Joinder.

        Under the law of the Seventh Circuit, fraudulent joinder “occurs when there is no

possibility that a plaintiff can state a cause of action against nondiverse defendants in state court,



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or where there has been outright fraud in plaintiff’s pleading of jurisdictional facts.” Schwartz v.

State Farm Mutual Automobile Insr. Com., 174 F.3d 875, 878 (7th Cir. 1999); Gottlieb v.

Westin Hotel Co., 990 F.2d 323, 327 (7th Cir. 1993). As expected, establishing fraudulent

joinder is a heavy burden borne exclusively by the party invoking the jurisdiction of this Court.

Chase v. Shop ‘N Save Warehouse Foods, Inc., 110 F.3d 424, 427 (7th Cir. 1997); McNutt v.

General Motors Acceptance Corp., 298 U.S. 178, 179 (1936).                The removing party must

support its jurisdictional allegations with evidence which proves “to a reasonable probability that

jurisdiction exists.” Chase, 110 F.3d at 427. Expressly:

               An out-of-state defendant who wants to remove… must show that, after
               resolving all issues of fact and law in favor of the plaintiff, the plaintiff
               cannot establish a cause of action against the in-state defendant.

Poulos v. Naas Foods, Inc., 959 F.2d at 69, 73 (7th Cir. 1992).

        In deciding whether a defendant has been fraudulently joined, a federal court “must

engage in an act of prediction: is there any reasonable probability that a state court would rule

against the non-diverse defendant?” Id. The basic question is the following: does Plaintiff have

any claim against Walgreens Pharmacy? Unequivocally, the answer is “Yes.”

B.      Plaintiff Has Multiple Causes of Action Against Walgreens Pharmacy.

        Under Illinois law, Plaintiff may maintain a products liability action against pharmacies

under any number of theories. "'Fraudulent joinder occurs either when there is no possibility that

a plaintiff can state a cause of action against nondiverse defendants in state court… Katonah v.

USAir, 868 F. Supp. 1031, 1034 (N.D. Ill. 1994) (quoting Hoosier Energy Rural Elec.

Cooperative, Inc. v. Amoco Tax Leasing IV Corp., 34 F.3d 1310, 1315 (7th Cir. 1994)).

Again, Plaintiffs need only plead a cause of action which might survive a motion to dismiss in



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the state court. Katonah v. USAir, 868 F. Supp. at 1034. In other cases before this Court

involving in state defendants such as Walgreens and Walgreens Pharmacy, Illinois District

Courts have found pharmacies to be properly joined with virtually identical allegations pled

against them.

       Here, Plaintiff alleged causes of action against Walgreens Pharmacy under theories of:

strict product liability - sale of defective product and negligence - failure to warn, and breach of

warranties. Each, standing alone, is sufficient to establish a viable cause of action against the

pharmacies under Illinois law.

       1.       Negligence

       Negligence is proven by showing a duty, breach of duty, causation and damages. Abbasi

v. Paraskevoulakos, 187 Ill. 2d 386, 390, 718 N.E.2d 181, 183 (Ill. 1999). Although Walgreens

Pharmacy provided some type of warnings with Vioxx, and thereby assumed a duty to warn

Vioxx users, Walgreens Pharmacy did not provide warnings of the specific dangers that have in

fact resulted in Plaintiff’s injuries. As such, that (assumed) duty was breached.

                a.        The pharmacies owed a duty to Plaintiff.

       Whether a duty exists is a question of law. A court determines whether a duty exists in a

particular case by considering: (1) the foreseeability that the defendant's conduct may injure

another; (2) the likelihood of an injury occurring; (3) the burden placed on the defendant by

imposing a duty; and (4) the consequences of imposing this burden on the defendant. Colonial

Inn Motor Lodge, 288 Ill.App.3d at 40, 223 Ill.Dec. 674, 680 N.E.2d 407 (Ill. App. 1997). The

facts of this case validate not only the duty of Walgreens Pharmacy, but also breach of that duty

and resulting injuries.



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       With a similar fact pattern, this Court and others have already determined that a

pharmacy, and in fact Walgreens Pharmacy specifically, owed Plaintiff a duty under Illinois law.

Citing to seminal Illinois authority, this Court specifically concluded that when a “pharmacist

voluntarily undertakes to warn a patient of side effects, he may owe a duty of care to warn of

specific dangers.” Muller v. Bayer, C.A. No 01-cv-0696-MJR citing Happel v. Wal-Mart Stores,

316 Ill. 3d 621, 629, 737 N.E.2d 650, 656-57 (Ill. App. 2000). Based upon that determination,

without consideration of Plaintiff’s other causes of action against Walgreens Pharmacy for strict

liability or failure to warn, Muller was summarily remanded. Id. As in that case, Plaintiff “ha[s]

sufficiently stated a claim against Walgreens...” Mueller, at 5.

               b. The learned intermediary rule does not protect the pharmacies.

       In denial of the pharmacy’s duties, Merck relied on a line of cases discussing the learned

intermediary rule as related to pharmacies. While distinguishing those cases, the Illinois court of

appeals subsequently reasoned that “[t]he underlying rationale of these cases is that to impose

such a duty on the pharmacist would effectively require him to exercise medical judgment in

deciding whether the physician had correctly prescribed a medication and in the correct amount

to treat a condition.”   Happel, 737 N.E.2d at 656.          This case is clearly different because

providing warnings to Plaintiff or their physicians of known dangers would not require the

pharmacist to exercise any medical judgment. It would only have ensure that crucial information

was provided to the physicians.

               Accordingly, we hold that, under the circumstances
               here, where defendant knew that…injury or death
               was substantially certain to result, defendant had
               an affirmative duty to disclose, either to [Plaintiff’s
               doctor] or to [Plaintiff], the information that [Plaintiff]
               should not take [Vioxx].


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Id., at 657.

         Significantly, the cases Walgreens Pharmacy has relied upon attempt to place the burden

on the treating physician to warn the patients. That is not possible here, because the Merck

defendants withheld information from the physicians. As alleged in Plaintiff’s Complaint, the

pharmacies knew of the dangers but did not pass this information along to Plaintiff or their

doctors. Without that fraudulently withheld information, the physicians were unable to warn the

Plaintiff.

        Clearly, “both the foreseeability and likelihood of injury strongly favor imposing a duty

to warn on defendant [pharmacies].” Happel, 737 N.E.2d at 656-57. The pharmacies had a duty

to provide safe medication and to warn the Plaintiff that Vioxx carried an unacceptably high risk

of clotting, heart attack, or stroke. Plaintiff’s Complaint alleges that the pharmacies knew or

should have known of the risk of taking Vioxx based on the FDA sanctions of Merck, the Dear

Doctor letters Merck sent to doctors and other health care providers, and the medical literature

regarding Vioxx. These Dear Doctor letters were actually dear “healthcare professional letters

and applied to pharmacies and pharmacists as well as doctors. Simply stated, the pharmacies

were “simply [Plaintiff’s] last, best chance to avoid serious injury or death… the consequences

of imposing the duty to warn on defendant are minimal.” Id.

        Plaintiff alleged that the pharmacy had knowledge of this known, specific adverse side

effect, and therefore had a duty to warn Plaintiff. Happel, 737 N.E.2d at 656-57. Walgreens

Pharmacy breached this duty when each failed to advise Plaintiff of the specific danger of

clotting, heart attack, or stroke, resulting from ingestion of Vioxx. In addition to the claims

against the pharmacies for failure to warn, Plaintiff unmistakably stated a claim for negligence


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that has a possibility for success. Accordingly, this case should be remanded. Poulous, 959

F.2d at 73.

       2.      Strict Liability – Sale of Defective Product

       In selling Vioxx, Walgreens Pharmacy was more than an innocent seller. Plaintiff’s

Complaint alleged that Vioxx was defective because it contained insufficient warnings regarding

the clotting associated with the Vioxx, and despite this knowledge, the pharmacies continued to

sell, market and distribute Vioxx after they knew or should have known that the product was

unreasonably dangerous. Walgreens Pharmacy had knowledge of the Dear Healthcare

Professional Letter from Merck dated April 2002.          A prescription drug is deemed to be

unreasonably dangerous, subjecting the manufacturer or seller to liability, if the drug was not

manufactured properly or was not accompanied by appropriate directions and warnings. Leesley

v. West, 165 Il. App. 3d 135, 140, 518 N.E.2d 758, 761 (Ill. App, 1988).

       Further interpretation of Leesley would impose an obligation on the pharmacy for

allowing an unreasonably dangerous drug to be placed into the stream of commerce.

Accordingly, Walgreens Pharmacy is liable under a theory of strict liability for placing Vioxx, a

defective product, into the stream of commerce without adequate warnings of clotting, heart

attack, or stroke.   For that reason, Plaintiff has stated a claim for failure to warn against

Walgreens Pharmacy that at the very least have a possibility of success and warrant remand.

       3.      Breach of Implied Warranty.

       In order to sustain a claim for breach of implied warranty, a plaintiff must demonstrate:

(1) a sale of goods; (2) that the seller of the goods is a merchant with respect to those goods; and

(3) that the goods were not of merchantable quality. Malaway v. Richards Manufacturing Co.,



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150 Ill. App. 3d 549, 558-59, 501 N.E.2d 376 (Ill. App. 5th Dist. 1986). These have all been

properly pled.

       The courts in Illinois have determined that the sale of drugs, surgical implements, and

food are sales of goods within the meaning of Article Two of the Illinois Commercial Code. See

Garcia v. Edgewater Hospital, 244 Ill. App. 3d 894, 900-901, 613 N.E.2d 1243, 1248-49 (Ill.

App. 1993) (holding the sale of artificial mitral valves by a hospital was a sale of goods, and the

hospital could be held liable under a theory of implied warranty). Merchantable goods should

not be objectionable under contract description, fit for ordinary purposes, adequately packaged

and labelled, and conform to the promises made on the container or label. 810 ILCS 5/2-314(2)

a-f.

       Plaintiff’s Complaint alleges that they purchased Vioxx from Walgreens Pharmacy

pursuant to prescriptions from their physicians. Plaintiff also alleges that the ingestion of Vioxx

obtained from these pharmacies led to clotting, heart attack, or stroke. Assuming the allegations

of the Complaint in Plaintiff’s favor, these facts lead to the reasonable conclusion that Walgreens

Pharmacy was a merchant with respect to prescription medication, and that the product, Vioxx,

were objectionable under contract description, not fit for the purpose of treating arthritis or joint

pain, inadequately packaged and labelled, and did not conform to the promises made on the

container or label. Conclusively, Plaintiff stated a claim for breach of implied warranty against

the pharmacies that has the possibility of success.

                                         CONCLUSION

       Under relevant Illinois law, Plaintiff’s Complaint unquestionably states viable causes of

action against Walgreens Pharmacy. Because Walgreens Pharmacy, was not fraudulently joined,



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its citizenship cannot be disregarded to concoct subject matter jurisdiction that does not exist. As

such, subject matter jurisdiction is lacking and accordingly Plaintiff requests that the Court

remand this case back to Madison County, Illinois pursuant to 28 U.S.C. § 1332(a).


                                              Respectfully submitted,

                                              GOLDENBERG HELLER ANTOGNOLI
                                              ROWLAND SHORT & GORI, P.C.

                                      By:     _/s/Aaron K. Dickey____
                                              Aaron K. Dickey #6281731
                                              2227 South State Route 157
                                              P.O. Box 959
                                              Edwardsville, IL 62025
                                              618-656-5150

                                              ATTORNEYS FOR PLAINTIFF




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                             CERTIFICATE OF SERVICE

 The undersigned hereby certifies that a true and accurate copy of the foregoing
 instrument was served upon all parties by electronically uploading the same to Lexis
 Nexis File & Serve, and that the foregoing was electronically uploaded with the Clerk of
 the Court of the United States District Court for the Eastern District of Louisiana by
 using the CM/ECF system which will send a Notice of Electronic Filing in accord with
 the procedures established in MDL 1657, this 26th day of September, 2007.




                                             /s/ Aaron K. Dickey




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